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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff/Respondent,

v.                                                                            No. 13-cv-0237 MV/SMV
                                                                                  11-cr-1065 MV
ACXEL BARRERA-MUÑOZ,

        Defendant/Petitioner.

                       MAGISTRATE JUDGE’S PROPOSED FINDINGS
                          AND RECOMMENDED DISPOSITION

        THIS MATTER is before the Court on Defendant/Petitioner (hereinafter “Petitioner”)

Acxel Barrera-Muñoz’s Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside, or Correct

Sentence . . . [CV Doc. 1],1 filed March 11, 2013. Petitioner claims that his due process rights

were violated based on ineffective assistance of counsel. Plaintiff/Respondent (hereinafter “the

Government”) filed a Response [CV Doc. 11] on April 22, 2013. Attached to the Response is a

sworn affidavit [CV Doc. 11-1] from Petitioner’s former counsel, Cliff McIntyre. Petitioner did

not file a Reply or otherwise attempt to refute McIntyre’s affidavit. Having considered the

parties’ submissions, the relevant law, and the records in this case and in Petitioner’s underlying

criminal case, 11-cr-1065 MV, I find that Petitioner’s claims of ineffective counsel are without

merit. I recommend, therefore, that Petitioner’s § 2255 Motion be DENIED, and that this civil

action, 13-cv-0327, be DISMISSED with prejudice.




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  Documents referenced as “CV Doc. ___” are from case number 13-cv-0237 MV/SMV. Those referenced as
“CR Doc. ___” are from case number 11-cr-1065 MV. Finally, those documents referenced as “App. Doc. ___” are
from the appellate record in case number 12-2207.
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                                   Factual and Procedural Background

         On August 23, 2011, Petitioner was charged by superseding indictment with:

(1) Conspiracy, in violation of 21 U.S.C. § 846; (2) Possession with Intent to Distribute

5 Kilograms and More of Cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and

Aiding and Abetting in violation or 18 U.S.C. § 2; and (3) Possession with Intent to Distribute

1 Kilogram and More of Heroin, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and

Aiding and Abetting, in violation of 8 U.S.C. § 2. [Doc. 32, filed in 11-cr-1065]. On May 8,

2012, Petitioner entered into a plea agreement with the Government pursuant to which he pled

guilty to Count 2 of the superseding indictment. [CR Doc. 76]. That offense carried a 10-year

mandatory minimum sentence. See id.; 21 U.S.C. § 841 (b)(1)(A)(ii). “The only exception to the

mandatory minimum is when a court finds that a defendant meets the five elements of § 3553(f),

the so-called ‘safety valve’ provision.” United States v. Chavez, No. 09-8019, 355 F. App’x 142,

145 (10th Cir. Dec. 7, 2009) (unpublished) (citing 18 U.S.C. § 3553(f); United States Sentencing

Commission, Guidelines Manual § 5C1.2 (Nov. 2011)). “The burden of proving all five

requirements by a preponderance of the evidence lies with the defendant.” United States v.

Gonzalez-Montoya, 161 F.3d 643, 652 (10th Cir. 1998).

         Petitioner’s plea agreement provided that Petitioner “may be eligible for the ‘safety

valve’ provisions” of § 3553(f). [CR Doc. 76] at 3. However, because Petitioner was still on

probation for a California driving-under-the-influence conviction at the time he committed the

drug offenses, he was found to be ineligible for safety valve relief2 and was sentenced to

2
  One of the § 3553(f) requirements is that “the defendant does not have more than 1 criminal history point, as
determined under the sentencing guidelines[.]” 18 U.S.C. § 3553(f)(1). Petitioner’s prior conviction gave him one
criminal history point, and the fact that he was still on probation from that conviction when he committed the instant
offense added two more points. See USSG § 4A1.1(d).

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120 months’ imprisonment, followed by five years of unsupervised release. See Transcript of

Sentencing Proceedings [CR Doc. 119] at 21–26; Judgment [CR Doc. 97].

       On December 19, 2012, Petitioner filed a direct appeal to the United States Court of

Appeals for the Tenth Circuit. [CR Doc. 107]. The Government filed a motion to enforce the

plea agreement. [App. Docs. 01019002344–47] (filed on February 14, 2013). The plea

agreement waived Petitioner’s right to file a direct appeal challenging his conviction or sentence,

reserving to Petitioner only the right to “collaterall[y] attack [the] conviction(s) pursuant to 28

U.S.C. § 2255 . . . on the issue of counsel’s ineffective assistance in negotiating or entering this

plea agreement or this waiver.” [CR Doc. 76] at 8. On February 25, 2013, Petitioner’s then

defense counsel, Erlinda Johnson, conceded “that an appeal in this case, due to the validity of the

plea waiver, would be wholly frivolous[,]” [App. Doc. 01019008313] at 3, and moved to

withdraw as counsel of record on that basis, id. at 2, 4. The Tenth Circuit gave Petitioner an

opportunity to file a pro se response to the Government’s motion to enforce the plea agreement,

but Petitioner chose not do so. [CR Doc. 125-1] at 2. The Tenth Circuit subsequently granted the

motion to enforce the appeal waiver and dismissed the appeal. Id. Petitioner filed the instant

§ 2255 motion on March 11, 2013. [CV Doc. 1].

                                               Analysis

       Petitioner raises four claims based on ineffective assistance of counsel. First, he claims

that his counsel was ineffective for failing “to fully investigate my case and determine i [sic] was

not eligible for the safety valve provision [of the Guidelines].” [CV Doc. 1] at 4. Second, he

claims that counsel was ineffective for failing to file a motion to suppress the evidence against

him. Id. Third, he claims that his attorney:


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               assured me I qualified for the safety valve and thus a sentence
               below the minimum statutory mandatory [sic]. I signed a plea
               document only upon reliance on his advise [sic]. [H]ad i [sic]
               known i [sic] did not qualify for the safety valve, I would not have
               signed a plea agreement. I would have also retained the services of
               an attorney in California in order to address my misdemeanor [sic]
               case[,] which was placing me in criminal history category II and
               making me ineligible for the safety valve.

Id. Fourth, he claims that his attorney made “nonsensical arguments” and “arguments not based

in the law or facts” at his sentencing hearing.” Id.

       Although three of Petitioner’s four claims most likely would have been barred by the

appellate waiver provision in the plea agreement, surprisingly, the Government does not invoke

the waiver in its Response. Thus, the waiver is waived. See United States v. Calderon, 428 F.3d

928, 930–31 (10th Cir. 2005). Instead, the Government argues that Petitioner’s claims of

ineffective assistance of counsel are without merit. [CV Doc. 11] at 4–9.

       1. Ineffective-Assistance-of-Counsel Claim Regarding Investigation of Petitioner’s
          Prior Criminal History

       The test for making a claim of constitutionally ineffective assistance of counsel was set

forth by the United States Supreme Court in Strickland v. Washington, 466 U.S. 668 (1984).

Under Strickland, a defendant must satisfy a two-part test:

               First, the defendant must show that counsel’s performance was
               deficient. This requires showing that counsel made errors so
               serious that counsel was not functioning as the “counsel”
               guaranteed the defendant by the Sixth Amendment. Second, the
               defendant must show that the deficient performance prejudiced the
               defense. This requires showing that counsel’s errors were so
               serious as to deprive the defendant of a fair [proceeding.]

466 U.S. at 687. Both showings must be made to satisfy the Strickland standard. Id. The Court is

not required to address both prongs of the standard if the defendant makes an insufficient


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showing on one of the prongs. Id. at 697. In applying the two-part Strickland test, a court may

address the performance and prejudice components in any order. Boltz v. Mullin, 415 F.3d 1215,

1222 (10th Cir. 2005).

       The appropriate standard for attorney performance is that of reasonably effective

assistance; the defendant must demonstrate that counsel’s representation, considering all the

circumstances, fell below an objective standard of reasonableness based on prevailing

professional norms. See Strickland at 687–88. For counsel’s performance to be constitutionally

ineffective, it must have been “completely unreasonable, not merely wrong.” Hoxsie v. Kerby,

108 F.3d 1239, 1246 (10th Cir. 1997) (quoting Hatch v. Oklahoma, 58 F.3d 1447, 1459 (10th

Cir. 1995)). In evaluating an attorney’s performance, the court must be highly deferential:

               A fair assessment of attorney performance requires that every
               effort be made to eliminate the distorting effects of hindsight, to
               reconstruct the circumstances of counsel’s challenged conduct, and
               to evaluate the conduct from counsel’s perspective at the time.
               Because of the difficulties inherent in making the evaluation, a
               court must indulge a strong presumption that counsel’s conduct
               falls within the wide range of reasonable professional assistance;
               that is, the defendant must overcome the presumption that, under
               the circumstances, the challenged action might be considered
               sound trial strategy.

Strickland, 466 U.S. at 689 (internal quotation marks omitted). In applying this test, the Court

must give considerable deference to an attorney’s strategic decisions and “recognize that counsel

is strongly presumed to have rendered adequate assistance and made all significant decisions in

the exercise of reasonable professional judgment.” Id. at 690. Finally, “[n]either hindsight nor

success is the measure” of whether counsel was effective, and “effective” is not necessarily

synonymous with victorious or flawless. Dever v . Kan. State Penitentiary, 36 F. 3d. 1531, 1537

(10th Cir. 1994). Rather, to be considered ineffective assistance of counsel, “the representation

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must have been such as to make the [proceeding] a mockery, sham, or farce, or resulted in the

deprivation of constitutional rights.” Id. (citing Lorraine v. United States, 444 F.2d 1, 2 (10th

Cir. 1971)).

       Petitioner claims that his counsel “failed to investigate my criminal history and advise me

that I did not qualify for the safety valve [provisions of the Guidelines].” [CV Doc. 1] at 4. In

response to this claim, Mr. McIntyre states in his Affidavit, “When I first met the defendant, I

asked him as I do every one of my clients, whether he had a criminal history. . . . The defendant

told me he had no criminal history.” [CV Doc. 11-1] at 2. This testimony is not disputed. It is

unclear exactly what Petitioner claims his attorney failed to do. If Petitioner means to suggest

that his attorney should have investigated his criminal history despite being told by Petitioner

that Petitioner had no criminal history, I find that such conduct does not rise to the level of

deficient performance. Petitioner has offered no authority—and the Court is unaware of any—to

support the claim that an attorney, having been told by his client that the client has no criminal

history, nevertheless has a duty to conduct an independent investigation to determine whether the

client has told the truth. Petitioner has failed to show that counsel’s conduct fell below an

objective standard of reasonableness. I find, therefore, that this claim fails to satisfy the first

prong of the Strickland test.

       2. Ineffective Assistance of Counsel Regarding Motion To Suppress

       Petitioner claims that the arresting officer violated his Fourth Amendment rights by

searching his vehicle without his consent, and that his counsel was subsequently ineffective for

failing to file a motion to suppress the fruits of that search. [CV Doc. 1] at 4. This claim is

factually inaccurate. Petitioner’s co-defendant filed a motion to suppress all evidence obtained as


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a result of the search. See Motion to Suppress all Tainted Evidence due to Illegal Seizure and

Search and Illegal Arrest of Defendant. [CR Doc. 44]. Petitioner’s counsel filed a Motion for

Joinder [in] Motion to Suppress, [CR Doc. 58], which the district judge granted, [CR Doc. 62].

See also Affidavit of Cliff McIntyre, [CV Doc. 11-1] at 2, ¶ 8 (discussing his joinder in motion

to suppress and how the motion would most likely have been denied). The motion to suppress

was never heard because both defendants decided to accept plea agreements. [CV Doc. 11-1]

at 2, ¶ 8. This claim, therefore, is without merit.

        3. Ineffective-Assistance-of-Counsel Claim Regarding Assurance that Petitioner
           Qualified for Safety Valve Relief

        Petitioner claims that his attorney “assured me I qualified for the safety valve and thus a

sentence below the minimum statutory mandatory [sic].” [CV Doc. 1] at 4. He claims further that

if he had known that his prior conviction placed him in criminal history category II (and thus

ineligible for safety valve relief), he would have “retained the services of an attorney in

California in order to address [the prior conviction].” Id. I find that this claim fails to satisfy the

Strickland standard, for three reasons. First, the Tenth Circuit has held that “[a] miscalculation or

erroneous sentence estimation by defense counsel is not a constitutionally deficient performance

rising to the level of ineffective assistance of counsel.” United States v. Gigley, 213 F.3d 509,

517 n.3 (10th Cir. 2000) (quoting United States v. Gordon, 4 F.3d 1567, 1570 (10th Cir. 1993)).

Thus, even if the allegations were true, this claim would still fail to satisfy the first prong of

Strickland.

        Second, when a prisoner claims ineffective assistance of counsel in connection with a

plea agreement, “in order to satisfy the ‘prejudice’ requirement, the [prisoner] must show that

there is a reasonable probability that, but for counsel’s errors, he would have not pleaded guilty

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and would have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985). Nowhere

does Petitioner state that, but for counsel’s alleged errors, he would have insisted on going to

trial. See [CV Doc. 1]. Instead, he claims that, but for counsel’s alleged errors, he would have

hired another attorney to “address” his prior conviction. Id. at 4. These allegations fail to satisfy

the second (prejudice) prong of the Strickland test.

       Third, Petitioner cannot show prejudice because at his change of plea hearing the

Magistrate Judge made it very clear that there was no guarantee that he would qualify for safety

valve relief, despite what his attorney might have told him. After Petitioner was advised of the

maximum statutory penalties (including imprisonment for not less than 10 years, and up to life),

the following exchange occurred:

               The Court: Do you understand those maximum statutory
               penalties?

               The Defendant: Yes.

               The Court: And do you understand that the judge could sentence
               you all the way up to those maximums if that would be a
               reasonable sentence?

               The Defendant: Yes.

               The Court: Now there is that mandatory minimum sentence of ten
               years incarceration. Would he be eligible for the safety valve?

               Mr. McIntyre: It seems like he is going to be safety eligible and
               due to negotiations with the government he’s been found to be
               safety eligible.

               The Court: All right. But there are no guarantees.

               Mr. McIntyre: There are no guarantees at this point.

               The Court: Okay. And you’ve reviewed with your client the five
               requirements for meeting the safety valve?

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               Mr. McIntyre: I sure have, your Honor.

               The Court: Do you understand those requirements to meet the
               safety valve provision?

               The Defendant: Yes.

               The Court: And do you understand that if you fail to meet all five
               requirements, the judge is required to sentence you to at least ten
               years of incarceration?

               The Defendant: Yes.

                                          *       *       *

               The Court: And Mr. McIntyre, have you given your client your
               best estimate of where he’ll fall on the guidelines?

               Mr. McIntyre: Yes, ma’am.

               The Court: I need to make sure that Mr. Barrera understands that
               all your attorney can do is give you his best estimate. He might be
               wrong and you might be sentenced to more time than you’re
               expecting. Even if that happens, you still could not withdraw your
               plea of guilty. Are you aware of that?

               The Defendant: Yes.

[CR Doc. 115] at 6–8. Where, as here, a defendant is informed about the uncertain nature of his

attorney’s sentencing predictions during the plea colloquy, mere allegations of prejudice are

insufficient to satisfy the prejudice prong of Strickland. See Gordon, 4 F.3d at 1571 (“Given the

fact that Defendant pleaded guilty even after being so informed by the Court, his mere allegation

that, but for original counsel’s failure to inform him about the use of relevant conduct in

sentencing, he would have insisted on going to trial, is insufficient to establish prejudice.”) Thus,

even if counsel’s advice had been constitutionally deficient—which was not the case—this claim

would still fail because it does not satisfy the prejudice prong of Strickland.

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       4. Ineffective-Assistance-of-Counsel Claim Regarding Conduct at Sentencing
          Hearing

       Petitioner claims that his attorney made “nonsensical arguments” and “arguments not

based in the law or facts” at his sentencing hearing. [CV Doc. 1] at 4. He claims further that

counsel was ill-prepared and that “his performance fell well below the standard accepted in the

community for defense counsel.” Id. Petitioner’s allegations are merely conclusory. He makes no

attempt to explain what his attorney should have done differently, or how he was prejudiced by

what his attorney did or failed to do.

       To prevail in a § 2255 action, a petitioner must show a defect in the proceedings that

resulted in “a complete miscarriage of justice.” Davis v. United States, 417 U.S. 333, 346 (1974)

(internal quotation marks omitted). The burden is on the petitioner to allege facts that, if proven,

would entitle him to relief. Hatch v. Oklahoma, 58 F.3d 1447, 1457 (10th Cir. 1995). To meet

this burden, a petitioner’s “allegations must be specific and particularized, not general or

conclusory.” Id. at 1471; see United States v. Fisher, 38 F.3d 1144, 1147 (10th Cir. 1994)

(Conclusory allegations are insufficient to support an ineffective assistance of counsel claim.).

“[S]heer speculation” that counsel might have done something different that might have resulted

in Petitioner receiving a shorter sentence “does not rise to the level of a constitutional claim.”

United States v. Romero-Gallardo, No. 03-4126, 113 F. App’x 351, 354 (10th Cir. 2004)

(unpublished) (petitioner must show that, but for counsel’s errors, the result of the sentencing

proceeding would have been different).

       Here, Petitioner fails to establish that he was prejudiced by any action taken by his

attorney in connection with sentencing. Petitioner was facing a potential term of imprisonment of

ten years to life. He received a sentence of 120 months (one month below the Guideline range

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minimum). See [CR Doc. 119] at 22–23. Counsel attempted to reduce that term even more. See

generally [CR Doc. 119]. Although the attempt was unsuccessful, that does not establish

ineffective assistance. “Neither vigor nor skill can overcome truth. Success is not the test of

effective assistance of counsel.” Johnson v. United States, 380 F.2d 810, 812 (10th Cir. 1967). I

have reviewed the transcript of Petitioner’s sentencing hearing. I note that Petitioner’s counsel

presented testimony, introduced exhibits, and vigorously argued for a sentence below the

mandatory minimum. See [CR Doc. 119]. Petitioner has not suggested any legitimate arguments

his counsel failed to make, and I cannot imagine any. Counsel was simply fighting a losing

battle. His representation did not fall below an objective standard of reasonableness. I find,

therefore, that this claim is without merit.

                   CONCLUSION AND RECOMMENDED DISPOSITION

        For all the reasons set forth above, I find that Petitioner’s allegations fail to show that he

received ineffective assistance of counsel. I further find that Mr. McIntyre’s affidavit and the

records in this case and Petitioner’s underlying criminal case fully support a finding that

Petitioner’s counsel’s performance did not fall below an objective standard of reasonableness. I

further find that Petitioner has failed to establish that he suffered any prejudice as a result of

counsel’s alleged errors. Accordingly, I find that he is not entitled to relief under 28 U.S.C.

§ 2255. Finally, because it is possible to resolve the issues on the pleadings and the record

clearly establishes that Petitioner is not entitled to relief, I find that an evidentiary hearing is not

necessary. See § 2255; United States v. Lopez, 100 F.3d 113, 119 (10th Cir. 1996). I therefore

recommend that Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct




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Sentencee… [Doc. 1] be DENIIED, and th
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PREJUD
     DICE.




  THE PARTIES ARE FURT            THER NOT   TIFIED TH   HAT WITH    HIN FOURT     TEEN DAY   YS OF
  SERV VICE of a copy
                    c      of thesse Proposed Findings annd Recomm   mended Dispoosition, theyy may
  file written objecttions with thhe Clerk of the
                                              t District Court pursuuant to 28 U.S.C. § 636((b)(1).
  A parrty must filee any writteen objection  ns with the Clerk of th  he District C
                                                                                   Court withiin the
  14-daay period if that party wants to ha    ave appellatte review off the proposed findinggs and
  recommmended disposition. If    I no objectiions are fileed, no appelllate review will be allowed.




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                                                            STEPHA  AN M. VID
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                                                                   States Magiistrate Judgge




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